     Case 1:20-cv-00067-JPW-MCC Document 22 Filed 01/23/20 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


STACEY SCHMADER, et al.,                     :      Civil No. 1:20-CV-67
                                             :
      Plaintiffs                             :      (Judge Wilson)
                                             :
v.                                           :      (Magistrate Judge Carlson)
                                             :
THOMAS ALAN LINZEY, et al.,                  :
                                             :
      Defendants                             :

                                     ORDER


      AND NOW, this 23rd day of January 2020 at the request of the parties IT IS

HEREBY ORDERED THAT a settlement conference shall be conducted on

January 28, 2020 at 1:00 p.m., in the undersigned chambers 11th Floor, U.S.

Courthouse, Harrisburg. All persons having settlement authority shall be present

unless approved by the court to be available by telephone on the date and time of the

conference.

      By January 27, 2020, the parties shall submit to the undersigned, U.S. mail

or electronic mail, at:

Chambers_of_Magistrate_Judge_Martin_Carlson@pamd.uscourts.gov

a brief, concise and confidential settlement memorandum setting forth the parties’

assessment of the case, and settlement recommendations.
     Case 1:20-cv-00067-JPW-MCC Document 22 Filed 01/23/20 Page 2 of 2




      In addition, by January 27, 2020, the parties shall begin the settlement

process by exchanging proposals. The parties’ confidential memoranda should

update the Court on the status of these settlement discussions.1




                                 /s/ Martin C. Carlson
                                 Martin C. Carlson
                                 United States Magistrate Judge




1We recognize both the expedited schedule requested by counsel and the fact that
some counsel would have to travel significant distances to attend this conference.
Therefore, if the parties’ intramural discussions reveal that they have made
substantial progress towards a resolution of the preliminary issues in this litigation,
and if the parties jointly agree that the final issues could be resolved telephonically,
we would consider a telephonic conference in lieu of travel by all counsel, but
would only do so based upon a joint representation by all counsel that the matter
can be resolved telephonically.
